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                                                             NOT PRECEDENTIAL

                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT


                                      No. 13-4544


                               DAVID RA WDIN, M.D.,
                                           Appellant

                                           V.

                      THE AMERICAN BOARD OF PEDIATRICS


                     On Appeal from the United States District Court
                        for the Eastern District of Pennsylvania
                               (D.C. No. 2-12-cv-06781)
                         District Judge: Hon. Juan R. Sanchez


                                  Argued: July 8, 2014


              Before: SMITH, VANASKIE, and SHWARTZ, Circuit Judges

                          (Opinion Filed: September 3, 2014)


                                       OPINION



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   SHWARTZ, Circuit Judge.

          David Rawdin sued the American Board of Pediatrics (ABP), seeking equitable

   relief based on ABP ' s alleged failure to accommodate his disability in violation of Title

   III of the Americans with Disabilities Act (ADA). He asserts that he is disabled due to a

   memory impairment and is entitled to an alteration to the multiple choice exam used as

   part of the ABP 's certification process. Because Rawdin has not shown he is entitled to

   the relief he seeks, we will affirm the judgment in favor of ABP.

                                                 I

          While attending college, Rawdin was diagnosed with Posterior Fossa

   Ependymoma, a type of brain tumor. After brain surgery, chemotherapy, and radiation

   therapy, Rawdin completed college and graduated from medical school. He, however,

   twice failed Step III of the United States Medical Licensing Exam (USMLE), which used

   a multiple choice format.

          After failing the second time, Rawdin felt something was amiss and saw a

   neuropsychologist, who concluded that Rawdin had a cognitive impairment, likely due to

   the treatment he received for his brain tumor, that impacted his memory retrieval system,

   and that this impairment likely gave him trouble on the multiple choice exam.




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           Not long after the neurological evaluation, Rawdin's tumor recurred and he had to

  undergo further surgical treatment. After surgery, Rawdin experienced multiple

  complications, requiring him to leave the medical profession for four years. Upon his

  return, and based on the neuropsychologist 's diagnosis, Rawdin requested

  accommodations when taking Step III for the third time. His request was granted and he

  was provided the following accommodations: (1) double time to take the exam, (2) an

  individual testing room, and (3) "off the clock" breaks. With these accommodations,

  Rawdin passed Step III on his third attempt and received his Pennsylvania medical

  license in 2000. He thereafter completed a pediatric residency and began practicing at

  the Children's Hospital of Philadelphia (CHOP). Rawdin flourished at CHOP,

  successfully treating over 10,000 babies.

           CHOP required its physicians to obtain "board certification" within five years of

  joining the hospital. JA 7. ABP is the only organization that certifies pediatricians. To

  receive certification from ABP, a physician must, among other things: (1) complete three

  years of pediatric training; (2) pass a peer and patient review; and (3) pass a multiple

  choice exam known as the General Pediatrics Certifying Examination (the Exam).

           The Exam consists of four sections and 335 multiple choice questions. 1 Each

  question is "cue- or story-based and contextual, providing the test-taker with a scenario




            1
              ABP develops the Exam through a series of phases that involves identifying the thirty-five subjects to be
  tested, allotting the percent of the Exam devoted to each subject, and having subject-matter experts write questions.
  The questions are then edited and reviewed at two consecutive annual meetings . An expert for ABP testified that
  the development cost for the 2011 - 2012 exam was $3,500 per question and that, on average, it takes two years from
  the time a question is first submitted until it appears on the exam.

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   and asking for the most likely diagnosis, treatment, or next step." 2 JA 8, 372-73, 753 .

   The examinee must select the correct answer from five choices. The multiple choice

   format facilitates the testing of a breadth of knowledge in only seven hours, does not rely

   on the subjective judgments of graders, and is more reliable 3 than other exam forms.

             Rawdin sat for the Exam five times and failed each time. After he failed the

   second time, his neuropsychologist reevaluated him using intelligence, academic

   achievement, neuropsychological, personality, and behavior tests. His scores showed that

   his memory was weak as compared to his overall intelligence, but was within the normal

  range. The neuropsychologist found that Rawdin 's memory was not "efficient" and that

  he struggled when asked to retrieve information out of context. JA 10, 215. 4

             A second neuropsychologist, Dr. Edward Moss, who has assisted other doctors

   struggling with their training, reviewed the neurological test results. He similarly

   described Rawdin's specific impairment as difficulty pulling "together on command



             2
                 Here is an example:

             A 16-month-old boy has recurrent diarrhea. He passes three to six liquid stools per day. Results
             of stool testing for routine bacterial pathogens, Clostridium difficile toxin, Giardia, and rotavirus
             have been negative. Family history includes autoimmune thyroiditis in the mother and type I
             diabetes in a cousin.
             Physical findings include height at the 50th percentile (consistent with previous measurements)
             and weight at the 5th percentile (formerly at the 25 percentile). The abdomen is distended and
             tyrnpanitic, with hyperactive bowel sounds.
             Results of which of the following will most likely be helpful in establishing the diagnosis?

             A. Anti-tissue transglutaminase antibody titer
             B. Sweat chloride test
             C. Sucrose breath hydrogen test
             D. Fecal elastase activity
             E. Fecal al-antitrypsin concentration
  JA 943 .
             3 An exam is psychometrically "reliable" if its results are "consistent across test-takers." JA 17.
             4
             The neuropsychologist diagnosed Rawdin with "Cognitive Disorder Not Otherwise Specified," which is a
  residual diagnosis for a cognitive disorder that does not meet the criteria for a spec ific disorder. JA 10.

                                                                5
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   discre[te] bits of unrelated information," which he opined was the kind of task an

   examinee faces on a multiple choice exam. JA 494, 581. Moss acknowledged, however,

   that he was not familiar with the Exam and was not trained as a psychometrician. Moss

   nonetheless opined that if Rawdin were tested in another format, he might "perform at a

   higher level. " JA 497 . Moss agreed that while Rawdin 's memory was weak as compared

   to his overall intelligence, it fell within the average range. 5

           By the time Rawdin reached the five-year deadline to receive his certification, he

   still had not passed the Exam and faced termination at CHOP. Due to Rawdin ' s excellent

   performance and a letter from Moss explaining Rawdin 's impairment, however, CHOP

   gave Rawdin an extra year to obtain his certification. Rawdin again took the Exam but

   failed, and was terminated in January 2010.

           In 2010, Rawdin wrote to ABP, explaining his impairment and requesting an

   alternative means of certification. In response, ABP informed Rawdin that it could not

   waive the Exam, offer an alternative format, or certify a doctor who had not passed the

   Exam, as this would "fundamentally alter the nature of the certification process," JA 12,

   148, but suggested that he request accommodations under the ADA.

           In April 2011 , Raw din applied to take the Exam again. For the first time, his

   neuropsychologist informed ABP of Rawdin 's diagnosis and requested the following

   accommodations: (1) extended time; (2) a quiet setting; (3) advance knowledge of the

   subjects covered on each part of the Exam; (4) access to reference materials (i.e., making



             5 A third expert who reviewed Rawdin 's records also concluded that Rawdin's memory scores were weak

   relative to his other scores, but his memory scores were within the normal range.

                                                          6
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   the Exam "open-book"); (5) short breaks; and (6) an essay format. ABP granted

   Rawdin 's request for additional time, a quiet setting, and short breaks, but denied his

   request for "advance knowledge" of the topics and "open-book" accommodations

   because "these accommodations would not allow ABP to adequately, reliably, and

   validly test Dr. Rawdin's knowledge." JA 13, 422-25 . ABP also determined that an

   essay exam would take an unreasonably long time to construct (over two years), would

   be prohibitively expensive, and would not meet its reliability and validity standards.

   Rawdin failed the 2011 Exam.

           In December 2012, Rawdin filed suit against ABP, and subsequently filed a

   motion for a preliminary injunction directing ABP to grant him immediate board

   certification without having to pass the Exam, or, in the alternative, to provide him with

   an open-book format, essay format, or evaluation in a clinical setting. With the parties

   consent, the District Court consolidated the preliminary injunction hearing with a bench

   trial on the merits, and found that Rawdin was not entitled to relief because: (1) Rawdin

   was not disabled; and (2) Rawdin was not entitled to the requested accommodations

   because they (a) were unreasonable and (b) would fundamentally alter the Exam or

   impose an undue burden on ABP. Rawdin appeals .

                                                             II6



            6 The District Court exercised jurisdiction under 28 U.S.C. § 1331 and this Court has jurisdiction under 28

  U.S.C. § 1291. After a bench trial, we review a district court ' s findings of fact for clear error and its legal
  conclusions de nova. CG v. Pa. Dep 't of Educ., 734 F.3d 229, 234 (3d Cir. 2013). If certain fact findings are
  unchallenged, this Court may "accept the findings as true ." Id. A "finding is ' clearly erroneous' when although
  there is evidence to support it, the reviewing court on the entire evidence is left with the definite and firm conviction
  that a mistake has been committed." Anderson v. City of Bessemer City, N.C. , 470 U.S. 564, 573 (1985) (quotation
  marks omitted).

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           Congress enacted the ADA to eliminate discrimination against individuals with

   disabilities. 42 U.S.C. § 12101(b)(l). Title III of the ADA specifically prohibits public

   accommodations, including testing entities, from engaging in disability discrimination.

   42 U.S .C. §§ 12181-12189. Title III contains a section governing testing entities, which

   provides:

           Any person that offers examinations or courses related to applications,
           licensing, certification, or credentialing for secondary or post-secondary
           education, professional, or trade purposes shall offer such examinations or
           courses in a place and manner accessible to persons with disabilities or
           offer alternative accessible arrangements for such individuals.

   42 U.S.C. § 12189. The purpose of this section is "to assure that persons with disabilities

   are not foreclosed from educational, professional or trade opportunities because an

   examination or course is conducted in an inaccessible site or without an

   accommodation. " H.R. Rep. No. 101-485(III), at 68- 69 (1990), reprinted in 1990

   U.S.C.C.A.N. 445 , 491 - 92 . Section 12189 applies to ABP because it is an entity that

   "offers examinations or courses related to ... certification, or credentialing for ...

   professional ... purposes."

           The Attorney General is charged with issuing regulations for all non-transportation

   provisions of Title III, including issuing accessibility standards that testing entities must

   follow. 7 Under this authority, the Attorney General issued a regulation implementing§

   12189, which defines the obligation of testing entities:



           7
             "Congress did not incorporate [the] ' reasonable accommodation' standard" that applies to cases arising
  under the employment provisions under Title I " into § 121 89." Enyart v. Nat '! Conference of Bar Exam'rs, Inc. , 630
  F.3d 1153, 1162 (9th Cir. 2011 ); Doe v. Nat'I Bd. of Med. Exam 'rs, 199 F.3d 146, 155 (3d Cir. 1999); Bonnette v.
  D.C. Court of Appeals , 796 F. Supp. 2d 164, 182 (D.D.C. 2011) ; 42 U.S .C.§12112(b)(5)(A).

                                                            8
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            Any private entity offering an examination covered by this section must
            assure that ... [t]he examination is selected and administered so as to best
            ensure that, when the examination is administered to an individual with a
            disability that impairs sensory, manual, or speaking skills, the examination
            results accurately reflect the individual 's aptitude or achievement level or
            whatever other factor the examination purports to measure, rather than
            reflecting the individual's impaired sensory, manual, or speaking skills . .. .

   28 C.F.R. § 36.309(b)(l)(i) (emphasis added) .

             We wi 11 assume without deciding that Rawdin is disabled under the ADA.8 We

   therefore next address whether his disability entitles him to protection under

   § 36.309(b)(l)(i). 9

            Even if Rawdin 's impairment fell within the categories of disabilities that the

   regulation covers, ABP has shown that the Exam "best ensures" that its results will

   accurately reflect Rawdin 's aptitude rather than his disability. 28 C. F.R.

   § 36.309(b)(l)(i). According to his experts, Rawdin 's disability impairs his ability to

   recall information out of context. It follows , then, that ABP is required to "best ensure"

   that the Exam reflects Rawdin ' s aptitude and not his difficulty recalling information out


            8 The ADA defines "disability" to include "a physical or mental impairment that substantially limits one or

   more of the major life activities of[an] individual." 42 U.S.C. § 12102(l)(A).
             9
               Congress directed the DOJ to promulgate regulations implementing Title III, 42 U.S.C. § 12186(b), and,
   as a result, such regulations are "entitled to substantial deference," Helen L. v. DiDario, 46 F.3d 325, 331-32 (3d
   Cir. 1995), and "given controlling weight unle s [they are] arbitrary, capricious, or manifestly contrary to the
   statute." Chevron. U. S.A.. Inc ., v. atural Res. Defense Council, inc., 467 U.S. 837, 844 (1984)) . Thus, we must
   con ider "whether the [agency 's] rule is a 'reasonable interpretation"' of the statute. Mayo Found. for Med. Educ.
   & Research v. United States, 131 S. Ct. 704, 714 (20 11 ) (quoting Chevron, 467 U.S. at 844 ).
             Section 12 189 requires entities like ABP to offer exams in a manner "accessible" to disabled people or to
   offer "alternative accessible arrangements ." 42 U.S.C. § 12189 . As this Court observed in Doe, "the notion of
   accessibility ... mandates changes to examinations . . . o that di abled people who are disadvantaged by certain
   features of standardized exami nations may take the examinations without those features that disadvantage them."
   Doe, 199 F.3d at 156. Section 36.309(b)(l)(i)'s "best ensure" standard accomplishes this goal and hence is a
   reasonable interpretation of§ l 2 l 89 's accessibility requirement as it requires testing entities to "provide disabled
   people with an equal opportunity to demonstrate their knowledge or abilities to the same degree as nondisabled
   people taking the exam." Enyart, 630 F.3d at 1162. For this reason, the "DOJ's regulation is not based upon an
   impermissible construction of§ 12189," and thus § 36.309 is entitled to deference. Id. at 1163; Jones v. at ' l
   Conference of Bar Exam 'rs, 801 F. Supp. 2d 270,284 (D. Vt. 2011); Bonnette, 796 F. Supp. 2d at 183-85.

                                                               9
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   of context. ABP provided example questions and testimony that show that it satisfies this

   standard since the Exam does not require an examinee to recall information out of

   context. JA 753 (testimony that the Exam does not require an examinee "to dredge up

   the answer from nowhere and write it down" and that the questions provide "context");

   JA 373 (testimony that the questions are "contextual" and present the examinee with a

   "scenario"); JA 420 (testimony that the questions are "constructed in a way that an

   individual is presented with a clinical vignette"). Rawdin failed to present any evidence

   refuting ABP 's characterization of the exam questions as contextual and cue- and story-

   based. Indeed, his only expert, Dr. Moss, admitted that he knew nothing about the

   Exam's questions, layout, or fonnat, and that he is not a psychometrician and has never

   developed an exam. Given Moss's lack of familiarity with the Exam and testing

   generally, it was not clearly erroneous for the District Court to discount his testimony and

   credit the testimony of witnesses who were familiar with the Exam and testing generally.

                                                III

          Like the District Court, we acknowledge Rawdin 's impressive clinical talents but

   conclude that the record and law do not provide a basis for relief. Thus, we will affirm

   the judgment.




                                                10
